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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

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    PROPOSED ATTORNEYS FOR DEBTOR
    In re:                                                        Chapter 11

    LTL MANAGEMENT LLC, 1                                         Case No.: 23-12825 (MBK)

                                Debtor.                           Judge: Michael B. Kaplan


             ORDER (I) SCHEDULING HEARING ON APPROVAL OF DISCLOSURE
               STATEMENT; (II) ESTABLISHING DISCLOSURE STATEMENT
              OBJECTION DEADLINE; AND (III) GRANTING RELATED RELIEF

             The relief set forth on the following pages is hereby ORDERED.




1
             The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
             501 George Street, New Brunswick, New Jersey 08933.



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Debtor: LTL Management LLC
Case No. 23-12825-MBK
Caption: Order (I) Scheduling Hearing on Approval of Disclosure Statement; (II) Establishing
Disclosure Statement Objection Deadline; and (III) Granting Related Relief


                 This matter coming before the Court on the Debtor’s Motion for an Order

(I) Scheduling Hearing on Approval of Disclosure Statement; (II) Establishing Disclosure

Statement Objection Deadline; and (III) Granting Related Relief (the “Motion”), 2 filed by the

debtor in the above-captioned case (the “Debtor”), pursuant to section 105(a) of the Bankruptcy

Code and Bankruptcy Rule 9006(c)(1); the Court having reviewed the Motion; the Court finding

that (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Standing Order of Reference, (b) venue is proper in this district pursuant to 28 U.S.C. §§ 1408

and 1409, (c) this is a core proceeding pursuant to 28 U.S.C. § 157(b), (d) sufficient cause exists

to reduce the time for objections to the Disclosure Statement, (e) the proposed schedule for the

Disclosure Statement Hearing, the Disclosure Statement Objection Deadline, and the deadline to

reply to any Disclosure Statement Objections is reasonable and appropriate under the

circumstances, and (f) notice of the Motion was sufficient under the circumstances and no other

notice is required by the Debtor,

                 IT IS HEREBY ORDERED THAT:

                 1.       The Motion is GRANTED.

                 2.       A hearing will be conducted to consider approval of the Disclosure

Statement on June 19, 2023, at 10:00 AM (prevailing Eastern Time) in the United States

Bankruptcy Court for the District of New Jersey, 402 East State Street, Second Floor, Courtroom

No. 8.

2
         Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.



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Debtor: LTL Management LLC
Case No. 23-12825-MBK
Caption: Order (I) Scheduling Hearing on Approval of Disclosure Statement; (II) Establishing
Disclosure Statement Objection Deadline; and (III) Granting Related Relief


                 3.    Pursuant to section 105(a) of the Bankruptcy Code and Bankruptcy Rule

9006(c), the deadline for any party to object to approval of the Disclosure Statement, including

any objections to the other relief sought in the Disclosure Statement Motion, is June 5, 2023, at

4:00 p.m. (prevailing Eastern Time). The Debtor or any other party in interest may file a

response in support of approval of the Disclosure Statement or the other relief sought in the

Disclosure Statement Motion on or before June 15, 2023. The Debtor or any other party in

interest is authorized to file a consolidated reply to any Disclosure Statement Objections.

                 4.    The requirement set forth in D.N.J. LBR 9013-1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

                 5.    The Debtor is authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

                 6.    This Court shall retain exclusive jurisdiction over any and all matters

arising from or related to the implementation, enforcement or interpretation of this Order.




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